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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA COMPLAINT
- against - (18 U.S.C. § 922(2)(1))
ANGEL ALMEIDA,
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

SEAN JOHNSON, being duly sworn, deposes and states that he is a Special
Agent with the Federal Bureau of Investigation, duly appointed according to law and acting as
such.

On or about November 23, 2021, within the Eastern District of New York and
elsewhere, the defendant ANGEL ALMEIDA, knowing that he had been previously convicted in
a court of one or more crimes punishable by a term of imprisonment exceeding one year: did
knowingly and intentionally possess in and affecting interstate or foreign commerce a firearm, to
wit: a 9 mm Taurus firearm.

(Title 18, United States Code, Section 922(g)(1))

The source of your deponent’s information and the grounds for his belief are as

follows:!

 

Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, | have not described all the relevant facts and
circumstances of which | am aware.
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l. I am a Special Agent with the Federal Bureau of Investigation (“FBI”). 1
have been a Special Agent with the FBI since 2017, and currently work on the FBI’s Joint
Terrorism Task Force (“JTTE”) on matters related to domestic terrorism and violent extremism.
As part of my duties, I investigate criminal violations relating to various federal crimes,
including investigations into firearms. | am familiar with the facts and circumstances set forth
below from my participation in the investigation; my review of the investigative file, including
the defendant’s criminal history record; and from reports of other law enforcement officers
involved in the investigation.

2. On or about November 21, 2021, the Honorable Vera M. Scanlon, United
States Magistrate Judge for the Eastern District of New York, authorized a search warrant for a
premises located at 4708 31% Avenue, Apartment 2E, Astoria, New York, 11103. The warrant
was assigned Magistrate Docket Number 21-1329,

3. During the execution of the search warrant, FBI agents found, in the closet
of a room believed to have been occupied by the defendant ANGEL ALMEIDA, among other
things, a9 mm Taurus firearm. FBI agents understood that it was the defendant’s room and
closet because they found clothing within the closet that matched the clothing the defendant was
wearing in recent publicly available images of the defendant from Facebook that were also
depicted within the search warrant.

4, I have reviewed the defendant’s criminal history, which revealed that on
or about February 27, 2019, ANGEL ALMEIDA was convicted of Burglary of a Conveyance, a
third-degree felony, in violation of Florida Statute § 810.02(4)(b).

5. I have conferred with a Nexus expert, a Special Agent of the Bureau of

Alcohol, Tobacco, Firearms, and Explosives (“ATF”), who has informed me, in substance and in
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part, that the 9 mm Taurus firearm recovered in this case was manufactured outside the state of

New York.

WHEREFORE, your deponent respectfully requests that the defendant ANGEL

ALMEIDA, be dealt with according to law.

XO Ze

SEAN JOHNSON
Special Agent, Federal Bureau of Investigation

Sworn to me through the transmission of this
Affidavit by reliable electronic means, pursuant to
Federal Rules of Criminal Procedure 41(d)(3) and 4.1,
this 23rd of November, 20

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THE HONORABLE VERA M. SCANLON
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
